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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
   LIABILITY LITIGATION
                                                     Case No. 16-md-02741-VC


   This document relates to:                         ORDER GRANTING MOTIONS FOR
                                                     SUMMARY JUDGMENT
   Southerland v. Monsanto Co.,
   Case No. 3:19-cv-06049-VC                         Re: Dkt. Nos. 19910, 19911, 19912, 19913,
                                                     19914, 19915, 19932, 19933
   Luby v. Monsanto Co.,
   Case No. 3:22-cv-03830-VC

   Seaman v. Monsanto Co.,
   Case No. 3:21-cv-02546-VC

   White v. Monsanto Co.,
   Case No. 3:23-cv-03550-VC

   Vanlandingham v. Monsanto Co.,
   Case No. 3:23-cv-03549-VC

   Albrecht v. Monsanto Co.,
   Case No. 3:20-cv-01636-VC

   Holden v. Monsanto Co.,
   Case No. 3:19-cv-05085-VC

   Lubischer v. Monsanto Co.,
   Case No. 3:23-cv-02962-VC



       In each of the above-captioned cases, Monsanto filed a motion for summary judgment on

the grounds that the plaintiff failed to disclose a specific causation expert. None of the plaintiffs
have filed an opposition. Accordingly, the motions are granted.
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       IT IS SO ORDERED.

Dated: January 15, 2025
                                  ______________________________________
                                  VINCE CHHABRIA
                                  United States District Judge




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